
688 S.E.2d 900 (2010)
55 Va. App. 690
Demetrius Lamar FARMER, Appellant,
v.
COMMONWEALTH of Virginia, Appellee.
Record No. 1694-08-3.
Court of Appeals of Virginia.
February 16, 2010.
Before BEALES, POWELL and ALSTON, JJ.

Upon a Petition for Rehearing
On January 26, 2010 came Demetrius Lamar Farmer, by court-appointed counsel, and filed a petition praying that the Court set aside the judgment rendered herein on January 12, 2010, and grant a rehearing thereof.
Upon consideration whereof, the petition for rehearing is granted, the mandate entered herein on January 12, 2010 is stayed pending the decision of the Court, and the appeal is reinstated on the docket of this Court.
*901 Upon further consideration whereof, the briefing schedule in this rehearing proceeding hereby is suspended pending a decision of the Supreme Court of Virginia on the remand from the Supreme Court of the United States in Magruder v. Commonwealth, 275 Va. 283, 657 S.E.2d 113 (2008), vacated and remanded sub nom. Briscoe v. Virginia, 559 U.S. ___, 130 S.Ct. 1316, ___ L.Ed.2d ___, 2010 WL 246152 (January 25, 2010) (per curiam).
